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AO 91 (Rev. ll/l l) Criminal Complaint

UNITED STATES DISTRICT CoURT

for the

Southern District of Indiana

 

 

 

United States of America )
v. )
JuAN CARLoS CoRDovA-sARAViA, ) Case N°' _
a/k/a Juan Cordova, ) 1313"'"1'0480
a/k/a Juan Car|os Cordova §
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Apri| 1, 2018 in the county of MariOn in the
Southern District of |ndiana , the defendant(s) violated:
Coa'e Sectz`on O]j‘ense Descrl`ption
8 U.S.C. § 1326(a) lllegal re-entry of a previously deported alien
18 U.S.C. § 922(g)(5) Un|awful possession of a firearm by an alien illegally or unlawfully in the

United States

This criminal complaint is based on these facts:

il Continued on the attached sheet.

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Compla@§&nature

Jason C. Rodrigues, Special Agent1 HS|

 

Prt`ntea' name and title
Sworn to before me and signed in my presence.
Date; 05/09/2018 M;;./\
Jua'ge ’s s?§;`at$'e

City and State; lndianapo|is, |N Debra l\/lcVicker l§`§/`nch, U.S. Magistrate Judge

 

Prt'nted name and title

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AFFIDAVIT

Your Affiant, Jason C. Rodriguez, is employed by the Homeland Security lnvestigations,
United States Department of Homeland Security. l have been so employed for approximately
(18) years. Prior to my employment as a Special Agent, l was employed as an Inspector with the
Immigration and Naturalization Service on the International border at the San Luis, AZ port of
entry.

l. I am a sworn Federal agent empowered under the laws of the United States to
investigate violations of Federal firearm and lmmigration laws and have focused attention on the
detection and apprehension of individuals violating both Federal and State laws.

2. Your Affiant is currently involved in an investigation regarding illegal re-entry of
a previously deported alien and the possession of a firearm by Juan Carlos CORDOVA-Saravia
(“CORDOVA-Saravia”), aka Juan CORDOVA, aka Juan Carlos CORDOVA, who is analien
illegally or unlawfully in the United States. Based upon this investigation, your Affiant has
probable cause to believe CORDOVA-Saravia violated Title 8, United States Code, Section
1326(a), illegal re-entry of a previously deported alien and Title 18, United States Code, Section
922(g)(5), unlawful possession of a firearm by an alien illegally or unlawfully in the United
States.

3. Your Affiant’s probable cause is based on the information set forth in the
following paragraphs which is either known personally to your Afflant, or has been related to
your Afflant by law enforcement personnel within the Indianapolis Metropolitan Police

Department (IMPD) and Bureau of Alcohol, Tobacco, Firearms and Explosives (BATF).

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4. On April l, 2018, Officer Bellows, Offlcer Tryba, Off`lcer Tharp and Offlcer
Andrade, of the Indianapolis Metropolitan Police Department (IMPD), were dispatched to a
disturbance investigation at 950 North Olney Street, Indianapolis, Indiana 46201.

5. When the Officers arrived, CORDOVA-Saravia’s girlfriend of four years told
Off`lcer Bellows that she wanted to remove her personal belongings from the house and
7 CORDOVA-Saravia had threatened to “blow her head off” if she ever left him. The girlfriend

further stated the firearm was in his bedroom.

6. Offlcer Bellows entered the residence with the girlfriend to remove her personal
belongings
7. While the girlfriend was gathering her personal belongings, Offlcer Bellows could

see CORDOVA-Saravia asleep on a bed and a single barrel shotgun leaning up against the wall
in plain view in the bedroom. The single barrel shotgun was determined to be a Savage Arms,
Stevens Model 94 Series M, 20-gauge, serial number P660708 (“Shotgun”).

8. The Shotgun was loaded with one live Westem Xpert Mark 5, ZO-gauge shotshell.

9. CORDOVA-Saravia’s mother was also present during the disturbance
investigation CORDOVA-Saravia’s mother told Officer Andrade she is the owner of the home
and gave verbal consent for Offlcers to search the bedroom for additional firearms.

lO. Offlcer Bellows recovered the Shotgun from the residence for safekeeping at the
IMPD Property Room, 50 North Alabama Street, Room El()O, Indianapolis, Indiana 462()4.

ll. After Officers and CORDOVA-Saravia’s girlfriend had exited the residence,
CORDOVA-Saravia exited the residence near the Officers and CORDOVA-Saravia’s girlfriend.
CORDOVA-Saravia was told his girlfriend was leaving and the Shotgun in his bedroom was

recovered for safekeeping

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lZ. CORDOVA-Saravia stated the Shotgun was his and was okay with that and
further stated “F_k her”, “If she leaves, she leaves”, “l ain’t stopping her.” “l’ve never done
anything to her.”

13. CORDOVA-Saravia was in possession of a counterfeit Form I-551 (Permanent

Resident Alien Card), in the name of Juan Carlos CORDOVA, July 27, 1988, A093 219 640.

14. During the disturbance investigation, your Aff`iant was provided a picture of the
form I-551.
15 . Your affiant determined the alien number on the Form I-551 is not assigned to

CORDOVA-Saravia and U.S. Citizenship and lmmigration Services (USCIS) has not issued
CORDOVA-Saravia a Form 1-551.

16. On April l7, 2018, your Affiant reviewed CORDOVA-Saravia’s alien file, A088
883 478. CORDOVA-Saravia is a citizen and national of Mexico by birth on July 27, 1988. On
February 18, 2010, CORDOVA-Saravia was arrested by Homeland Security lnvestigations (HSI)
lndianapolis Special Agents and placed in removal proceedings On March 24, 2010,
CORDOVA-Saravia was ordered removed from the United States to Mexico at Chicago, Illinois.
On April 6, 2010, CORDOVA-Saravia was removed from the United States to Mexico at the
Brownsville, Texas port of entry. At the time of his removal to Mexico at Brownsville, Texas,
CORDOVA-Saravia was served form I-296 (Notice to Alien Ordered Removed/Departure
Verification). This form notified CORDOVA-Saravia was prohibited from entering, attempting
to enter, or being in the United States for a period of 10 years from the date of removal from the
United States.

17. On April 20, 2018, your Affiant and HSI Taskforce Officer (TFO) Wilkerson

interviewed CORDOVA-Saravia’s girlfriend. She stated CORDOVA-Saravia had owned the

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shotgun since CORODOVA-Saravia’s father passed away in 2016 and that CORDOVA-Saravia
kept the shotgun loaded and in the bedroom.

18. CORDOVA-Saravia has not received a benefit from U.S. Citizenship and
lmmigration Services that would allow CORDOVA-Saravi`a to lawfully possess a firearm in the
United States.

19. Department of Homeland Security records show that CORDOVA-Saravia did not
have permission from the Attorney General of the United States, or his successor, the Secretary
of Homeland Security, or any designee, to renter the United States following his deportation

20. Your Affiant knows from his training and experience and confirmed with BATF
Special Agent (SA) Clancy that the above listed firearm is manufactured outside the State of
Indiana and by virtue of its presence in the State of Indiana it would have had to have traveled in
interstate or foreign commerce Further, SA Clancy conducted a test fire of the above listed
firearm possessed by CORDOVA-Saravia and found that it is fully functional and capable of

expelling a projectile by means of an explosion.

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Q C. Rodrigu
` '» cial Agent

United States Department of Homeland Security,
Homeland Security lnvestigations

   
 
   

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Subscribed and sworn to me before this 7 day of May, 2018, at Indianapolis, Indiana.

WA.NMW

Debra McVicker(kyrk:h
United States Magistrate Judge
Southern District of Indiana

